    Case 4:02-cv-00041-HLM Document 653 Filed 11/12/03 Page 1 of 4


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        IN THE        UNITED STATES DISTRICT COURT
       FOR THE        NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION                                                  ~` ..



EN RE : TRI-STATE                       )
'REMATORY LITIGATION                    )   MDL      DOCKET   NO .   1467
                                                                                    .i




                 VIDEOTAPE          DEPOSITION          OF

                      JULIAN     ALLEN      PEEPLES




                        October 29,          2002

                               2 :50 p .m .



                      615 West First Street
                          Rome, Georgia




         John   P .    Payne,     RPR,      CRR,      CCR A-1006




                       B           OWN
                                               INC.

                            4*101
                           1609 Martha Berry Blvd-
                              Rome, GA 30165
                                706-235-8300


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     Case 4:02-cv-00041-HLM Document 653 Filed 11/12/03 Page 2 of 4
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        IN   THE     UNITED     STATES      DISTRICT         COURT
       FOR   THE     NORTHERN      DISTRICT           OF   GEORGIA
                         ROME      DIVISION




N RE : TRI-STATE                       )
REMATORY LITIGATION                    )   MDL      DOCKET    NO .   1467
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                   VIDEOTAPE        DEPOSITION OF
                                                                                                  I
                                                                                                  I
                      JOHN     WESLEY      PEEPLES




                       October 29,          2002                                                   i
                                                                                                  i
                             10 :10 a .m .                                        I



                     615    West First Street
                            Rome, Georgia                                         I               I




        John   P .    Payne,      RPR,     CRR,       CCR A-1006




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                      s            o wN                                                           i
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                           1609 Martha Berry Blvd
                              Rome, GA 30765
                                706-235-8300                                 /
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       IN THE UNITED STATES DISTRICT COURT
      FOR THE NORTHERN DISTRICT OF GEORGIA
                  ROME DIVISION




 RE : TRI-STATE
EMATORY LITIGATION                )   MDL DOCKET N0 .    1467      1
                                                                   A       J




              VIDEOTAPE DEPOSITION OF

       REVEREND CLARENCE EUGENE OVERSTREET                         ~   .



                    November 14,           2002

                        10 :07 a .m .                              ~                j


                        The Forum
                   2 Government Plaza
                      Rome, Georgia


       Penny J .    McPherson,        CCR-B-914,   RPR




                   B         OWN                                               ,'

                                           INC.
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                    »ao reacvvvee St, x.w.
                       Atlanta, GA 30309
                         404-8^6-8979                           6,




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       IN THE UNITED STATES . DISTRICT COURT                          110
      FOR THE NORTHERN DISTRICT OF GEORGIA
                  ROME DIVISION




 RE : TRI-STATE
EMATORY LITIGATION                   MDL DOCKET .NO .   1467




               VIDEOTAPE DEPOSITION OF

                   WILLIAM E .       McGILL



                   November 15,          2002

                         10 :00 a .m .



                615 West First Street
                    Rome, Georgia




              Lisa A .    Messing CCR A-421




                  B          OWN
                                         INC .

                      *"
                    1740 Peachtree St, N .W.
                      Atlanta, GA 30309
                        404-876-8979

                                                               V J~
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